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            EXHIBIT B
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    In re:                                           §
                                                     §
    ERIN ENERGY CORPORATION, et                      §                  Case No. 18-32106
    al., 1                                           §
           Debtors.                                  §                 Chapter 11
                                                     §
                                                     §                 (Jointly Administered)

                  SCHEDULE OF ORDINARY COURSE PROFESSIONALS

                 Name                                         Address                            Service

    Terra Marine Attorneys                 95 Awolowo Road SW Ikoyi, Lagos,                  Legal
                                           Nigeria

    Payce Consulting                       Gambia Electrical Company Road, Off               Consulting
                                           Jimpex Road, Kanifing Municipality,
                                           The Gambia
    Uzoma Achigbue, South Atlantic         55 Garba Jahumpa Road, Bakau New                  Legal
    Chambers of The Gambia                 Town, The Gambia




1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin Petroleum
Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.
